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                              United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

 UNITED STATES OF AMERICA,                         §
                                                   §
                 Plaintiff,                        §
                                                   §
 v.                                                §    CRIMINAL ACTION NO. 4:06-CR-016-
                                                   §              ALM/CAN
 ZACHARY TAYLOR ROTH,                              §
          Defendant.                               §
                                                   §


                    MEMORANDUM ADOPTING REPORT AND
             RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

           Came on for consideration the above-referenced criminal action, the Court having

 heretofore referred the request for the revocation of Defendant’s supervised release to the United

 States Magistrate Judge for proper consideration.      The Court has received the Report and

 Recommendation of the United States Magistrate Judge pursuant to its order. Defendant having

 waived allocution before the Court as well as his right to object to the report of the Magistrate

 Judge, the Court is of the opinion that the findings and conclusions of the Magistrate Judge are

 correct.

           It is therefore, ORDERED that the Report and Recommendation of United States

 Magistrate Judge is ADOPTED as the opinion of the Court.

           It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

 It is further ORDERED that Defendant be committed to the custody of the Bureau of Prisons for

 a term of imprisonment of twelve (12) months plus one (1) day, with no supervised release to

 follow.
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            The Court also recommends that Defendant be housed in the Bureau of Prisons North

     Texas facility, if appropriate.

            IT IS SO ORDERED.
             SIGNED this 9th day of September, 2016.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE




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